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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:07CR98
                                            )
                     Plaintiff,             )
                                            )                 MEMORANDUM
              v.                            )                  AND ORDER
                                            )
ROLAND K. LONG,                             )
                                            )
                     Defendant.             )

       This matter is before the Court on the Defendant's pro se motions (Filing Nos. 138,

150, and 151) in which he seeks a retroactive sentence reduction pursuant to 18 U.S.C.

§ 3852 and Amendment 782 to the Sentencing Guidelines. He has also filed a request for

personal appearance before the Court to argue his position (Filing No. 153). The Court has

reviewed the parties' submissions, the 2014 Drug Retroactive Sentencing Worksheet

submitted by the Court's probation office (Filing No. 141), and the opinion of the U.S. Court

of Appeals for the Eighth Circuit (United States v. Long, 757 F.3d 762 (8th Cir. 2014)), in

which Long was found ineligible for a sentence reduction under 18 U.S.C. § 3852 because

he was sentenced to a specific term (144 months) pursuant to an 11(c)(1)(C) plea

agreement that did not specify a guideline range, nor contain sufficient information from

which his guideline range could be calculated. Long remains ineligible for a sentence

reduction under 18 U.S.C. § 3852, for the same reasons set out in Long, 757 F.3d at 764.

See also Freeman v. United States, 313 S. Ct. 2685, 2697 (2011) (Sotomayor, J.,

concurring). Accordingly,

IT IS ORDERED:

       1.     Defendant Roland Long's pro se Motions (Filing Nos. 138, 150, and 151)

       seeking retroactive sentence reduction pursuant to 18 U.S.C. § 3852 are denied;
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     2.    Defendant Roland's Long's pro se Motion (Filing 153) seeking a personal

     appearance before the Court is also denied; and

     3.    The Clerk will send a copy of this Order to the Defendant at his last known

     address.

     DATED this 12th day of May, 2015.


                                      BY THE COURT:


                                      s/Laurie Smith Camp
                                      Chief United States District Judge




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